       Case 3:12-cr-05187-JAH                          Document 296              Filed 12/16/15              PageID.891   Page 1 of 2



    'lI>AO 245D (CASD) (Rev. 1112) Judgment in a Criminal Case for Revocations
                Sheet)



                                              UNITED STATES DISTRICT COURT
                                                    SOUTHERN DISTRICT OF CALIFORNIA
                    UNITED STATES OF AMERICA                                     JUDGMENT IN A CRIMINAL CASE 1',..,
                                         V.                                       (For Revocation of Probation or Supervised Release)
                         Martin Olivas-Amador -I                                  (For Offenses Committed On or After November 1, 1987)


                                                                                  Case Number: 12-cr-05187-JAH-I

                                                                                  Kasha K Castillo Federal Defenders
                                                                                  Defendant's Attorney
    REGISTRATION No. 35711298
o
    THE DEFENDANT:
    (£] admitted guilt to violation of allegation(s) No . _O.;;.,;;;;n;.;;,.e_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
     o was found in violation of alJegation(s) No. _ _ _ _ _ _ _ _ _ _ _ _ _ _after denial of guilt.
    ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following allegation(s):


    Allegation Number           Nature of Violation
             I        Committed a federal, state or local offense (nvl)




      Supervised Release       is revoked and the defendant is sentenced as provided in pages 2 through              2    of this judgment.
    This sentence is imposed pursuant to the Sentencing Reform Act of 1984.


             IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
    change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
    fully paid. If ordered to pay restitution, the defendant shall notify the court and Umted States Attorney of any material change in the
    defendant's economic circumstances.

                                                                                  December 10, 2015
                                                                                  Date oflmposition of Sentence




                                                                                  HON. JOHN A. HOUSTON
                                                                                  UNITED STATES DISTRICT JUDGE




                                                                                                                           12-cr-05187-JAH-l
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AO 245D (CASD) (Rev. 1112) Judgment in a Criminal Case for Revocations
           Sheet 2 Imprisonment

                                                                                               Judgment - Page _...;2_ of     2
 DEFENDANT: Martin Olivas-Amador -1
 CASE NUMBER: 12-cr-05187-JAH-l
                                                                  IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
          Twelve months. concurrent with ] 5CR0270-JAH.




     o The court makes the following recommendations to the Bureau of Prisons:

     o The defendant is remanded to the custody ofthe United States Marshal.
     o The defendant shall surrender to the United States Marshal for this district:
            Oat                                        Oa.m.         Op.m.   on _ _ _ _ _ _ _ _ _ __

                as notified by the United States Marshal.

     o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        o before -----------------------------------------------------------------------
        o as notified by the United States Marshal.
        o as notified by the Probation or Pretrial Services Office.
                                                                         RETURN

 I have executed this judgment as follows:

          Defendant delivered on                                                     to

  at ______________________ , with a certified copy of this judgment.


                                                                                              UNITED STATES MARSHAL


                                                                             By ________~~~~~~~~~~---------
                                                                                          DEPUTY UNITED STATES MARSHAL




                                                                                                                   12-cr-OSI87-JAH-l
